        Case 1:20-cr-00008-MKB Document 105-3 Filed 02/13/23 Page 1 of 4 PageID #: 587


mascottoesq@gmail.com

From:                             Enright, John (USANYE) <John.Enright@usdoj.gov>
Sent:                             Saturday, February 11, 2023 5:55 PM
To:                               mascottoesq@gmail.com; Lax, Jonathan (USANYE)
Subject:                          RE: [EXTERNAL] USA v Nerayoff


Mike:

Thanks again for speaking yesterday, and it’s not a problem to discuss over the weekend. As to your first request, we’re
not going to confirm whether any such emails or texts exist given that any request for such information far exceeds the
government’s Rule 16 obligations. We are thus not obligated to produce any such information, and Marc’s letter does
not set forth any valid basis explaining why your client would be entitled to that information. To the extent any such
information is Giglio or 3500 material, we will provide it at the appropriate time per any schedule set by the Court in
advance of trial. As for your second and third requests, they too call for information exceeding the government’s Rule
16 obligations. Again, if any such information constitutes produceable Giglio or 3500 material, we will provide it as
appropriate in advance of trial.

Finally, we will continue to abide by our obligations under Brady and its progeny.

Best,

John

John O. Enright
Assistant United States Attorney
United States Attorney’s Office
Eastern District of New York
271-A Cadman Plaza East
Brooklyn, New York 11201
Office: 718-254-6203 | Cell: 917-789-2268
John.Enright@usdoj.gov



From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Saturday, February 11, 2023 1:18 PM
To: Enright, John (USANYE) <JEnright@usa.doj.gov>; Lax, Jonathan (USANYE) <JLax@usa.doj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

Gentlemen:

I hate to bother you both over the weekend, but since I am going to be filing my motion on Monday and the issue of
Hlady and Special Agent Anderson’s extensive contact will certainly be mentioned I want to be absolutely certain that
the information I am going to include in my papers is accurate.
While I understand that it is your intention to provide a written reply via email to the two pending requests I wanted to
make sure that my understanding as to the following three items are accurate:

Can you please be so kind as to confirm the following:



                                                            1
       Case 1:20-cr-00008-MKB Document 105-3 Filed 02/13/23 Page 2 of 4 PageID #: 588
    1) There are no emails and/or text messages between Anderson and Hlady in the possession of the United States
       (Agnifilo 7-18-22 request 3).
    2) The FBI has neither created nor maintains/ed a file concerning Hlady and his status as an informant, information
       source or cooperator (Agnifilo 7-18-22 request 7).
    3) There are no reports or notes relating to information that Hlady provided to Anderson or any other agent,
       employee etc of the United States (to include those text messages and telephone calls Anderson and Hlady
       engaged in) (Agnifilo 7-18-22 request 1).

Again, while I do indeed regret having to bother you over the weekend, given the nature of these requests I want to
make sure that I am not misunderstanding our telephone conversation and that the information provided to the Court in
Monday’s filing is absolutely accurate.

Thanks,
Mike




From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Friday, February 10, 2023 6:56 PM
To: 'Enright, John (USANYE)' <John.Enright@usdoj.gov>; 'Lax, Jonathan (USANYE)' <Jonathan.Lax@usdoj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

John thanks for the call. Just so I’m clear, there are no text messages between Hlady and S/A Jordan Anderson of the
FBI in the possession of the government?



From: Enright, John (USANYE) <John.Enright@usdoj.gov>
Sent: Thursday, February 9, 2023 7:54 PM
To: mascottoesq@gmail.com; Lax, Jonathan (USANYE) <Jonathan.Lax@usdoj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

Sounds good. Talk to you tomorrow.

From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Thursday, February 9, 2023 7:53 PM
To: Enright, John (USANYE) <JEnright@usa.doj.gov>; Lax, Jonathan (USANYE) <JLax@usa.doj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

Ok then it shouldn’t be hard to connect with you! I will try you as soon as I can after my court appearance.



From: Enright, John (USANYE) <John.Enright@usdoj.gov>
Sent: Thursday, February 9, 2023 7:51 PM
To: mascottoesq@gmail.com; Lax, Jonathan (USANYE) <Jonathan.Lax@usdoj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

I’m free all evening, so whatever works. My cell is best: 917-789-2268.

From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Thursday, February 9, 2023 7:49 PM

                                                            2
       Case 1:20-cr-00008-MKB Document 105-3 Filed 02/13/23 Page 3 of 4 PageID #: 589
To: Enright, John (USANYE) <JEnright@usa.doj.gov>; Lax, Jonathan (USANYE) <JLax@usa.doj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

How late tomorrow can we speak and what is the best way to reach you?

From: Enright, John (USANYE) <John.Enright@usdoj.gov>
Sent: Thursday, February 9, 2023 7:48 PM
To: mascottoesq@gmail.com; Lax, Jonathan (USANYE) <Jonathan.Lax@usdoj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

I should be good b/w 12 and 1 and after 2:30, if either of those windows works.

From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Thursday, February 9, 2023 7:42 PM
To: Enright, John (USANYE) <JEnright@usa.doj.gov>; Lax, Jonathan (USANYE) <JLax@usa.doj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

What time were you thinking? I have an afternoon court appearance.

From: Enright, John (USANYE) <John.Enright@usdoj.gov>
Sent: Thursday, February 9, 2023 7:41 PM
To: mascottoesq@gmail.com; Lax, Jonathan (USANYE) <Jonathan.Lax@usdoj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

Mike: We’ve been reviewing these requests. Do you have a few minutes tomorrow afternoon to touch base? Thanks. –
John

John O. Enright
Assistant United States Attorney
United States Attorney’s Office
Eastern District of New York
271-A Cadman Plaza East
Brooklyn, New York 11201
Office: 718-254-6203 | Cell: 917-789-2268
John.Enright@usdoj.gov



From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Monday, February 6, 2023 10:08 AM
To: Lax, Jonathan (USANYE) <JLax@usa.doj.gov>
Cc: Enright, John (USANYE) <JEnright@usa.doj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

Jon and John,

Would you be able to give me an answer as to the two document requests that we’ve made?
As we must submit our motion no later than next Monday, February 13 would you be so kind as to let me know your
Office’s position sometime before the end of the week.

Thanks,
Mike
                                                           3
        Case 1:20-cr-00008-MKB Document 105-3 Filed 02/13/23 Page 4 of 4 PageID #: 590



From: Lax, Jonathan (USANYE) <Jonathan.Lax@usdoj.gov>
Sent: Monday, January 23, 2023 11:00 AM
To: mascottoesq@gmail.com
Cc: Enright, John (USANYE) <John.Enright@usdoj.gov>
Subject: RE: [EXTERNAL] USA v Nerayoff

Hi Mike:

We are generally fine with this approach. But before we agree to the schedule, can you give us a sense of the type of
motions that you expect to file? We assume these are pre-trial/Rule 12-type motions, and not, for example, motions in
limine. Just want to confirm we are talking about the same thing.

In the meantime, we’ll look at the prior letter and the new one.

- Jon

From: mascottoesq@gmail.com <mascottoesq@gmail.com>
Sent: Monday, January 23, 2023 6:47 AM
To: Lax, Jonathan (USANYE) <JLax@usa.doj.gov>; Enright, John (USANYE) <JEnright@usa.doj.gov>
Subject: [EXTERNAL] USA v Nerayoff

Dear Jon and John,

Conferred with Dave via email and understand that the team is going to be moving forward.

At this point, we’d ask that you respond to Marc’s July 18, 2022 request for discovery and an additional request dated
today (both attached) and that we set a schedule for defense motions. We’d like to file our motions by February 13 th.

How does Defense Motions: 2/13, Government Response: 3/6, Defense reply 3/13 look?

If you are agreeable perhaps it makes sense to write to the Court to advise that we are at an impasse, advise we have
agreed to a motion schedule and ask the Court to adjourn the matter for some time after the motions are fully briefed?

Please let me know your thoughts,
Thanks,
Mike

Michael A. Scotto
attorney-at-law
1225 Franklin Ave, Suite 325
Garden City, NY 11530
mascottoesq@gmail.com
mobile: 516-506-2302
fax: 1-516-706-7312




                                                            4
